         Case 2:20-cv-01959-GAM Document 222 Filed 08/16/24 Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

THOMAS REMICK, ET AL.                           :
                                                :        CIVIL ACTION NO. 20-1959
        v.                                      :
                                                :
CITY OF PHILADELPHIA, ET AL.                    :

                                                ORDER

        This 16th day of August, 2024, after finding Defendants City of Philadelphia and the

Commissioner of Prisons in Contempt (ECF 220), 1 and following in-depth consultation with this

Court’s team of Monitors, the following equitable remedy 2 is hereby ORDERED:

    1. RECRUITMENT, STAFFING, AND HIRING 3

             a. The City of Philadelphia (City) shall, within 30 days of the date of this Order,

                identify and provide to the Monitor outside recruitment firms with a proven track

                record of hiring for law enforcement agencies for consideration by the Court.

                Within 90 days of Court approval of a firm, the City shall hire that firm to manage

                and increase recruitment and hiring efforts for the Philadelphia Department of

                Prisons (PDP) and related jobs.

             b. The City shall maintain an internet portal to accept applications for employment to

                the PDP, and that portal shall remain open and continuously available to accept

                applications at all times.



1
  Defendants were found in contempt of this Court’s July 12, 2022 Order (ECF 176), which approved and
incorporated a Settlement Agreement (ECF 173-2).
2
  The Court will entertain additional argument as to whether any form of coercive or compensatory sanction
is separately warranted.
3
 The requirements described in this section primarily seek to remedy non-compliance with section II,
paragraphs (1) through (5), (10), (13), (14), (17), and (18) of the Settlement Agreement. ECF 173-2.
                                                    1
Case 2:20-cv-01959-GAM Document 222 Filed 08/16/24 Page 2 of 9




 c. The City shall complete an evaluation of departments within the PDP, including

    but not limited to: Classification, Movement, and Registration; Management

    Information Systems; Booking; and external gate security, to determine if these

    departments could be served in full or in part by civilian employees.            This

    evaluation should include a review of possible barriers to reclassification of these

    positions. The City shall complete this evaluation and report its findings to the

    Monitor within 30 days of the date of this Order.

 d. Within 30 days of the date of this Order, the City shall identify for the Court

    companies that are capable of providing medical guarding of PDP’s open ward

    patient population after the first 24 hours following admission and transportation

    of patients to offsite medical appointments. Within 90 days of the date by which

    the Court approves a selected company, the City shall commence negotiating a

    contract with the selected service provider. To the extent the hiring of services

    contemplated by the provision of this Order is a mandatory subject of bargaining,

    the contract with the company capable of the services contemplated by this

    paragraph shall remain in place consistent with any terms negotiated through

    bargaining, subject to final approval by the Court.

 e. The City shall immediately authorize PDP to offer additional double-time pay for

    any day of the week as necessary to staff all vacant shifts.

 f. To assist with employee retention, the City shall, within 150 days of the date of this

    Order, fund an adequate employee wellness program. Within 90 days of the date

    of this Order, the PDP shall appoint a Wellness Coordinator to oversee the PDP’s

    employee wellness program.



                                       2
         Case 2:20-cv-01959-GAM Document 222 Filed 08/16/24 Page 3 of 9




            g. Within 60 days of the date of this Order, the City shall compare wages and non-

                wage benefits available to PDP employees and other City of Philadelphia

                employees and submit a description of any differences identified to the Monitor.

                The comparison shall include uniformed public safety personnel and all other PDP

                job classifications for which vacancy rates exceed ten percent.

            h. Within 30 days of the date of this order, the City shall initiate any necessary action

                to expand the timeframe for eligibility to rehire former employees contained within

                Civil Service Regulation 15-031 from one year to five years after resignation.

            i. Pursuant to the waiver of the Residency Requirement in the June 12, 2024 Act 195

                Interest Arbitration Supplemental Award, see ECF 216-8, the City shall expand the

                category of eligible applicants to qualified individuals who reside outside the

                Commonwealth of Pennsylvania.

    2. HEALTHCARE ACCESS 4

            a. The City shall increase the budget for YesCare to provide additional healthcare

                staffing to serve as liaisons between security personnel and healthcare providers, to

                expand healthcare services to meet the current and future needs of the patient

                population, and to provide routine rounding in all housing units due to limited out-

                of-cell time.

                    i. Rounding shall occur at least three times per week in all units until the PDP

                        comes into substantial compliance with required out-of-cell time.

                   ii. The budget increase shall be sufficient to allow YesCare to provide

                        additional staff members as necessary to ensure substantial compliance with


4
 The requirements described in this section primarily seek to remedy non-compliance with section II,
paragraphs (4) through (6) of the Settlement Agreement. ECF 173-2.
                                                   3
Case 2:20-cv-01959-GAM Document 222 Filed 08/16/24 Page 4 of 9




           substantive provisions 4 (“Return to Normal Operations”), 5 (“Healthcare”)

           and 6 (“Behavioral Health in Segregation”) of the Settlement Agreement.

           See ECF 173-2, ¶¶ II(4)-(6).

 b. The City shall fund an Access to Care team, to be housed within the

    Commissioner’s Office, and to include, at minimum, one Deputy Commissioner,

    one Access to Care Manager at a correctional peace officer management rank, one

    secretary, one analyst, and at least five Health Care facilitators assigned to PDP

    facilities. The Access to Care team shall be fully operational within 180 days of

    the date of this Order.

 c. Where medical care can properly be rendered using telehealth services, the City

    shall take all reasonable and necessary steps to employ such services to reduce the

    number of staff assigned to transport duties, even if the marginal cost of telehealth

    services is higher than that of in-person visits.




                                       4
         Case 2:20-cv-01959-GAM Document 222 Filed 08/16/24 Page 5 of 9




    3. PROGRAMMING AND SERVICES FOR CLASS MEMBERS 5

            a. Within 60 days of the date of this Order, the City shall identify and provide to the

                Monitor competent outside consultant(s) to conduct an objective evaluation of the

                Restorative and Transitional Services (RTS) Unit’s functions and effectiveness.

                Within 60 days of approval by the Court, the City shall engage the identified

                consultant(s). The evaluation shall include, at a minimum, a comparative analysis

                of programs proven effective in other comparable detention/correctional facilities,

                and a recommendation for performance metrics against which to assess the

                performance of PDP employees working in RTS.

            b. The City shall install law library terminals in each unit in each facility for class

                members to use during their recreation time. The law library terminals shall be

                fully installed within 1 year of the date of this Order.

    4. FACILITY MAINTENANCE 6

            a. The City shall authorize the PDP to expand services contractually provided by U.S.

                Facilities, Inc., and fund such expanded scope of services until necessary

                maintenance is performed at all PDP facilities. To the extent any maintenance

                needs are not included in the scope of work of the RFP that resulted in the contract,

                the City shall initiate bargaining on the subject or issue a request for proposals in

                accordance with the applicable collective bargaining agreements.




5
 The requirements described in this section primarily seek to remedy non-compliance with section II,
paragraphs (4), (5), and (7) of the Settlement Agreement. ECF 173-2.
6
 The requirements described in this section primarily seek to remedy non-compliance with section II,
paragraphs (4) and (17) of the Settlement Agreement. ECF 173-2.


                                                   5
         Case 2:20-cv-01959-GAM Document 222 Filed 08/16/24 Page 6 of 9




            b. The City shall complete an analysis of the state of the physical plant and long-term

                capital needs at each PDP facility housing class members, identifying deficits that

                impact the conditions of confinement. This analysis should also provide the

                Commissioner of Prisons with detailed recommendations for a target number of

                staff employees needed to maintain each facility. The City shall complete the

                analysis and report its findings to the Monitor within 270 days of the date of this

                Order.

    5. FACILITY SECURITY 7

            a. The PDP shall confer with the Philadelphia Police Department to implement a

                system to report criminal offenses remotely that occur at PDP facilities, to include

                a video capability that would allow police personnel to interview complainants and

                witnesses remotely. The PDP shall report the outcome of these discussions to the

                Monitor within 60 days of the date of this Order.

            b. The City shall fund PDP’s K9 detection program. Funding for the program shall

                be at a level sufficient to conduct routine and consistent sweeps for contraband at

                each institution and to ensure adequate facilities to house K9s and all necessary

                equipment.

            c. The City shall complete the purchase of technology that allows for prompt and

                efficient scanning, without violating any attorney-client privilege, of incoming

                legal mail for contraband within 60 days of the date of this Order.




7
 The requirements described in this section primarily seek to remedy non-compliance with section II,
paragraph (4) of the Settlement Agreement. ECF 173-2.


                                                   6
         Case 2:20-cv-01959-GAM Document 222 Filed 08/16/24 Page 7 of 9




    6. POPULATION MANAGEMENT 8

            a. Within 120 days of the date of this Order, the Commissioner is directed to explore

                realistic, suitable options for relocation of class members to another secure facility,

                and report in writing to the Monitor any such options identified for assessment by

                the Court.

            b. The Prison Population Manager, or designee, in the Managing Director’s Office,

                shall, on a monthly basis, evaluate data from the Tableau Prison Population

                Dashboard to identify individual members of the prison population being held on a

                charge other than murder, with no detainers, because of a failure to post bail. A

                report shall be issued and provided to the Monitor, the PDP Commissioner, the

                District Attorney and Office of the Public Defender, with a copy to the

                Administrative Judges and Supervising Judges for criminal matters in both the

                Court of Common Pleas and Municipal Court. This report shall include the person

                identifier (PPN), admission date, length of stay, total bail amounts, facility, lead

                charges, lead grades, and docket numbers, as well as the following:

                    i. persons held on bail up to $100,000;

                   ii. persons with significant medical needs such as cancer treatment and dialysis

                        requiring frequent off-site medical appointments;

                   iii. persons over the age of 60;

                   iv. persons who are in PDP’s minimum or community security categories, have

                        only misdemeanor and F3 charges, and who have no more than a minor

                        history of misconduct within the PDP; and


8
 The requirements described in this section primarily seek to remedy non-compliance with section II,
paragraphs (2) and (3) of the Settlement Agreement. ECF 173-2.
                                                   7
         Case 2:20-cv-01959-GAM Document 222 Filed 08/16/24 Page 8 of 9




                    v. persons who are housed in protective custody.

                Any data not obtainable through the Tableau Prison Population Dashboard,

                including the docket numbers, lead charges, and lead grades shall be compiled by

                the Prison Population Manager, or designee, in the Managing Director’s Office.

    7. REMEDY

            a. As an equitable remedy imposed under this Court’s contempt power, the City of

                Philadelphia is ordered to pay the sum of 25 million dollars 9 into the Registry of

                this Court. These funds will be held by the Court solely as the prerequisite for a

                further order directing the Clerk of Court to disburse said funds to the City of

                Philadelphia Grants Fund. The funds are to be designated for use exclusively to

                comply with the terms of this Order, with the City required to submit periodic

                reports to the Court as to all disbursements. Upon further notice from the Court,

                the appropriate City representative shall execute Form AO-213P, with an original,

                non-electronic signature, to facilitate the disbursement via an electronic funds

                transfer.   The City is prohibited from reducing funds currently budgeted or

                projected for future fiscal years for the operation of the PDP because of its

                obligation to comply with this or any other provision of this Order.

    8. COMPLIANCE WITH THIS ORDER AND THE SETTLEMENT AGREEMENT

            a. To the extent the expansion or hiring of services or civilianization of positions

                contemplated by the provisions of this Order are mandatory subjects of bargaining,


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  The spreadsheets submitted by the City, in a sworn declaration by the PDP Commissioner, show that from
fiscal years 2020 to 2023 (July 1, 2019 to June 30, 2023), the City of Philadelphia saved $19,304,126 by
underspending its PDP budget, largely due to understaffing. See ECF 216, Exs. A-C. This action was
commenced in April 2020, and the spreadsheets from which this total was extracted date back several
months before. It should be noted, however, that if fiscal year 2020 were excluded from the calculations,
the shortfall in City spending on the prisons is even greater, totaling $25,119,265.
                                                   8
         Case 2:20-cv-01959-GAM Document 222 Filed 08/16/24 Page 9 of 9




               including but not limited to the positions recommended by the Monitor for

               civilianization pursuant to provision 1.c, the City shall initiate bargaining and/or

               provide notice to the applicable union of its intention to expand or hire services or

               civilianize any positions within 45 days from the date of this Order.

           b. The City shall, as required to comply with the mandates of this Order and the

               Settlement Agreement, hire or contract with a permanent full-time internal

               Compliance Coordinator within 120 days of the date of this Order with sufficient

               support staff to facilitate implementation of this Order and the Settlement

               Agreement. In the meantime, the City shall remain responsible for compliance with

               all provisions of this Order and the Settlement Agreement.

                   i. Within 60 days of appointment, the Compliance Coordinator shall submit a

                       staffing plan to the Court via the Monitor for approval. Remaining team

                       members shall be appointed within 90 days following Court approval of the

                       staffing plan.

                   ii. Within 180 days of the date of this Order, Defendants shall submit a written

                       status report on their progress toward implementation of this Order.

                       Subsequent status reports shall be submitted on the first day of each quarter

                       until otherwise directed by the Court.

           c. The Monitor shall continue to provide the Court with biannual status reports.

       The Court retains jurisdiction over any matter which may arise in connection with the

administration of this Order and may revise or order additional equitable relief or sanctions against

the Defendants pending information provided to the Court in conjunction with this Order.

                                                                 /s/ Gerald Austin McHugh
                                                                United States District Judge

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